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 2                                     UNITED STATES DISTRICT COURT
 3                                           DISTRICT OF NEVADA
 4                                                      ***
 5
     UNITED STATES OF AMERICA,
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 7
                              Plaintiff,
                                                           2:12-cr-00463-JCM-VCF
 8   vs.
                                                           ORDER
 9   DENISE WILLIAMS,

10                           Defendant.

11             Before the court is Defendant’s Notice of Competency Evaluation Status. (#368).
12             On October 23, 2014, the court ordered Defendant Williams’ psychiatric examination to be
13   conducted by Dr. Mark Chambers and the psychiatric examination report is due by November 14, 2014.
14   (#333). In Defendant’s Notice of Competency Evaluation Status, Defendant states that Dr. Chambers
15   was out of town until October 29, 2014 and that the Authorization fee request has not been approved.
16   (#368).
17             The authorization fee request for Dr. Chambers was approved by the court on November 13,
18   2014. Defendant Williams’ psychiatric examination with Dr. Chambers will go forward. Given that Dr.
19   Chambers was unavailable until October 29, 2014; the due date for the psychiatric examination report is
20   extended to December 18, 2014.
21             IT IS SO ORDERED.
22             Dated this 18th day of November, 2014.
23

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                                                                 CAM FERENBACH
25                                                               UNITED STATES MAGISTRATE JUDGE
